Case 1:24-cv-24066-CMA Document 24-1 Entered on FLSD Docket 02/10/2025 Page 1 of 13




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

                                CASE NO. 1:24-CV-24066-CMA/REID

    ALAN GUERECA, individually
    and on behalf of all others similarly situated,

                            Plaintiff,
            v.

    MOTORSPORT.TV DIGITAL, LLC,

                            Defendant.



                                   STIPULATED PROTECTIVE ORDER

   1.     PURPOSES AND LIMITATIONS

          Disclosure and discovery activity in this action are likely to involve production of

   confidential, proprietary, or private information for which protection from public disclosure may be

   warranted. Accordingly, the parties hereby stipulate to and petition the court to enter the following

   Stipulated Protective Order. The parties acknowledge that this Order does not confer blanket

   protections on all disclosures or discovery and that the protection it affords extends only to the limited

   information or items that are to be treated as confidential under the terms of this Order. The parties

   further acknowledge, as set forth in Section 12.3, below, that this Stipulated Protective Order does

   not entitle them to file confidential information under seal; S.D. Fla. L.R. 5.4 sets forth the

   procedures that must be followed and the standards that will be applied when a party seeks

   permission from the court to file material under seal.

   2.     DEFINITIONS

          2.1     Challenging Party: a Party or Non-Party that challenges a Designating Party's

   confidentiality designation..


                                                      1
Case 1:24-cv-24066-CMA Document 24-1 Entered on FLSD Docket 02/10/2025 Page 2 of 13




           2.2     “CONFIDENTIAL” Information or Items: information (regardless of how it is

   generated, stored or maintained) or tangible things that qualify for protection under Federal Rule of

   Civil Procedure 26(c).

           2.3     Counsel (without qualifier): Outside Counsel of Record and House Counsel (as well

   as their support staff).

           2.4     Designating Party: a Party or Non-Party that designates information or items that it

   produces in disclosures or in responses to discovery as “CONFIDENTIAL.” The Designating Party

   bears the burden of establishing good cause for the confidentiality of all such information or items.

           2.5     Disclosure or Discovery Material: all items or information, regardless of the medium

   or manner in which it is generated, stored, or maintained (including, among other things, testimony,

   transcripts, and tangible things), that are produced or generated in disclosures or responses to

   discovery in this matter.

           2.6     Expert: a person with specialized knowledge or experience in a matter pertinent to the

   litigation who has been retained by a Party or its counsel to serve as an expert witness or as a

   consultant in this action.

           2.7     House Counsel: attorneys who are employees of a party to this action.

           2.8     Non-Party: any natural person, partnership, corporation, association, or other legal

   entity not named as a Party to this action.

           2.9     Outside Counsel of Record: attorneys who are not employees of a party to this action

   but are retained to represent or advise a party to this action and have appeared in this action on behalf

   of that party or are affiliated with a law firm which has appeared on behalf of that party.

           2.10    Party: any party to this action, including all of its officers, directors, employees,

   consultants, retained experts, and Outside Counsel of Record (and their support staffs).




                                                     2
Case 1:24-cv-24066-CMA Document 24-1 Entered on FLSD Docket 02/10/2025 Page 3 of 13




           2.11      Producing Party: a Party or Non-Party that produces Disclosure or Discovery Material

   in this action.

           2.12      Professional Vendors: persons or entities that provide litigation support services (e.g.,

   photocopying, videotaping, translating, preparing exhibits or demonstrations, and organizing,

   storing, or retrieving data in any form or medium) and their employees and subcontractors.

           2.13      Protected Material: any Disclosure or Discovery Material that is designated as

   “CONFIDENTIAL.”

           2.14      Receiving Party: a Party that receives Disclosure or Discovery Material from a

   Producing Party.

   3.      SCOPE

           The protections conferred by this Stipulation and Order cover not only Protected Material (as

   defined above), but also (1) any information copied or extracted from Protected Material; (2) all

   copies, excerpts, summaries, or compilations of Protected Material; and (3) any testimony,

   conversations, or presentations by Parties or their Counsel that might reveal Protected Material.

   However, the protections conferred by this Stipulation and Order do not cover the following

   information: (a) any information that is in the public domain at the time of disclosure to a Receiving

   Party or becomes part of the public domain after its disclosure to a Receiving Party as a result of

   publication not involving a violation of this Order, including becoming part of the public record

   through trial or otherwise; and (b) any information known to the Receiving Party prior to the

   disclosure or obtained by the Receiving Party after the disclosure from a source who obtained the

   information lawfully and under no obligation of confidentiality to the Designating Party. Any use of

   Protected Material at trial shall be governed by a separate agreement or order.




                                                       3
Case 1:24-cv-24066-CMA Document 24-1 Entered on FLSD Docket 02/10/2025 Page 4 of 13




   4.     DURATION

          Even after final disposition of this litigation, the confidentiality obligations imposed by this

   Order shall remain in effect until a Designating Party agrees otherwise in writing or a court order

   otherwise directs. Final disposition shall be deemed to be the later of (1) dismissal of all claims and

   defenses in this action, with or without prejudice; and (2) final judgment herein after the completion

   and exhaustion of all appeals, rehearings, remands, trials, or reviews of this action, including the time

   limits for filing any motions or applications for extension of time pursuant to applicable law.

   5.     DESIGNATING MATERIAL AS CONFIDENTIAL

          5.1       Exercise of Restraint and Care in Designating Material for Protection. Each Party or

   Non-Party that designates information or items for protection under this Order must take care to limit

   any such designation to specific material that qualifies under the appropriate standards. The

   Designating Party must designate for protection only those parts of material, documents, items, or

   oral or written communications that qualify – so that other portions of the material, documents, items,

   or communications for which protection is not warranted are not swept unjustifiably within the ambit

   of this Order.

          Mass, indiscriminate, or routinized designations are prohibited. Designations that are shown

   to be clearly unjustified or that have been made for an improper purpose (e.g., to unnecessarily

   encumber or retard the case development process or to impose unnecessary expenses and burdens on

   other parties) expose the Designating Party to sanctions.

          If it comes to a Designating Party’s attention that information or items that it designated for

   protection do not qualify for protection, that Designating Party must promptly notify all other Parties

   that it is withdrawing the mistaken designation.

          5.2       Manner and Timing of Designations. Except as otherwise provided in this Order (see,




                                                      4
Case 1:24-cv-24066-CMA Document 24-1 Entered on FLSD Docket 02/10/2025 Page 5 of 13




   e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated or ordered, Disclosure or

   Discovery Material that qualifies for protection under this Order must be clearly so designated before

   the material is disclosed or produced.

          Designation in conformity with this Order requires:

              (a) For information in documentary form (e.g., paper or electronic documents, but

   excluding transcripts of depositions or other pretrial or trial proceedings), that the Producing Party

   affix the legend “CONFIDENTIAL” to each page that contains protected material. If only a portion

   or portions of the material on a page qualifies for protection, the Producing Party also must clearly

   identify the protected portion(s) (e.g., by making appropriate markings in the margins). A Party or

   Non-Party that makes original documents or materials available for inspection need not designate

   them for protection until after the inspecting Party has indicated which material it would like copied

   and produced. During the inspection and before the designation, all of the material made available

   for inspection shall be deemed “CONFIDENTIAL.” After the inspecting Party has identified the

   documents it wants copied and produced, the Producing Party must determine which documents, or

   portions thereof, qualify for protection under this Order. Then, before producing the specified

   documents, the Producing Party must affix the “CONFIDENTIAL” legend to each page that contains

   Protected Material. If only a portion or portions of the material on a page qualifies for protection, the

   Producing Party also must clearly identify the protected portion(s) (e.g., by making appropriate

   markings in the margins).

              (b) for testimony given in deposition or in other pretrial or trial proceedings, that the

   Designating Party identify on the record, before the close of the deposition, hearing, or other

   proceeding, all protected testimony.

              (c) for information produced in some form other than documentary and for any other




                                                     5
Case 1:24-cv-24066-CMA Document 24-1 Entered on FLSD Docket 02/10/2025 Page 6 of 13




   tangible items, that the Producing Party affix in a prominent place on the exterior of the container or

   containers in which the information or item is stored the legend “CONFIDENTIAL.” If only a

   portion or portions of the information or item warrant protection, the Producing Party, to the extent

   practicable, shall identify the protected portion(s).

          5.3     Inadvertent Failures to Designate. If timely corrected, an inadvertent failure to

   designate qualified information or items does not, standing alone, waive the Designating Party’s right

   to secure protection under this Order for such material. Upon timely correction of a designation, the

   Receiving Party must make reasonable efforts to assure that the material is treated in accordance

   with the provisions of this Order.

   6.     CHALLENGING CONFIDENTIALITY DESIGNATIONS

          6.1     Timing of Challenges. Any Party or Non-Party may challenge a designation of

   confidentiality at any time, including after the litigation has ended. A Party does not waive its right

   to challenge a confidentiality designation by electing not to mount a challenge promptly after the

   original designation is disclosed.

          6.2     Meet and Confer. The Challenging Party shall initiate the dispute resolution process

   by providing written notice of each designation it is challenging and describing the basis for each

   challenge. To avoid ambiguity as to whether a challenge has been made, the written notice must

   recite that the challenge to confidentiality is being made in accordance with this specific paragraph

   of the Protective Order. The parties shall attempt to resolve each challenge in good faith and must

   begin the process by conferring directly (in voice to voice dialogue; other forms of communication

   are not sufficient) within 10 days of the date of service of notice. In conferring, the Challenging Party

   must explain the basis for its belief that the confidentiality designation was not proper and must give

   the Designating Party an opportunity to review the designated material, to reconsider the




                                                     6
Case 1:24-cv-24066-CMA Document 24-1 Entered on FLSD Docket 02/10/2025 Page 7 of 13




   circumstances, and, if no change in designation is offered, to explain the basis for the chosen

   designation. A Challenging Party may proceed to the next stage of the challenge process only if it

   has engaged in this meet and confer process first or establishes that the Designating Party is unwilling

   to participate in the meet and confer process in a timely manner.

          6.3      Judicial Intervention. If the Parties cannot resolve a challenge without court

   intervention, the Designating Party shall follow the procedure designated by the relevant

   jurisdiction’s local rules or the individual practices of the assigned judge or magistrate for mediating,

   adjudicating, and resolving the challenge.

   7.     ACCESS TO AND USE OF PROTECTED MATERIAL

          7.1      Basic Principles. A Receiving Party may use Protected Material that is disclosed or

   produced by another Party or by a Non-Party in connection with this case only for prosecuting,

   defending, or attempting to settle this litigation. Such Protected Material may be disclosed only to

   the categories of persons and under the conditions described in this Order.

          Protected Material must be stored and maintained by a Receiving Party at a location and in a

   secure manner that ensures that access is limited to the persons authorized under this Order.

          7.2      Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise ordered by

   the court or permitted in writing by the Designating Party, a Receiving Party may disclose any

   information or item designated “CONFIDENTIAL” only to:

                (a) the Receiving Party’s Outside Counsel of Record in this action, as well as employees

   of said Outside Counsel of Record to whom it is reasonably necessary to disclose the information for

   this litigation and who have signed the “Acknowledgment and Agreement to Be Bound” that is

   attached hereto as Exhibit A;

                (b) the officers, directors, and employees (including House Counsel) of the Receiving




                                                     7
Case 1:24-cv-24066-CMA Document 24-1 Entered on FLSD Docket 02/10/2025 Page 8 of 13




   Party to whom disclosure is reasonably necessary for this litigation and who have signed the

   “Acknowledgment and Agreement to Be Bound” (Exhibit A);

              (c) Experts (as defined in this Order) of the Receiving Party to whom disclosure is

   reasonably necessary for this litigation and who have signed the “Acknowledgment and Agreement

   to Be Bound” (Exhibit A);

              (d) the court and its personnel;

              (e) court reporters and their staff, professional jury or trial consultants, mock jurors, and

   Professional Vendors to whom disclosure is reasonably necessary for this litigation and who have

   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);

              (f) during their depositions, witnesses in the action to whom disclosure is reasonably

   necessary and who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A),

   unless otherwise agreed by the Designating Party or ordered by the court. Pages of transcribed

   deposition testimony or exhibits to depositions that reveal Protected Material must be separately

   bound by the court reporter and may not be disclosed to anyone except as permitted under this

   Stipulated Protective Order.

              (g) the author or recipient of a document containing the information or a custodian or

   other person who otherwise possessed or knew the information.

   8.     PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN OTHER
          LITIGATION

          If a Receiving Party is served with a subpoena or a court order issued in other litigation that

   compels disclosure of any information or items designated in this action as “CONFIDENTIAL,” that

   Party must:

              (a) promptly notify in writing the Designating Party. Such notification shall include a

   copy of the subpoena or court order;



                                                    8
Case 1:24-cv-24066-CMA Document 24-1 Entered on FLSD Docket 02/10/2025 Page 9 of 13




              (b) promptly notify in writing the party who caused the subpoena or order to issue in the

   other litigation that some or all of the material covered by the subpoena or order is subject to this

   Protective Order. Such notification shall include a copy of this Stipulated Protective Order; and

              (c) cooperate with respect to all reasonable procedures sought to be pursued by the

   Designating Party whose Protected Material may be affected.

          If the Designating Party timely seeks a protective order, the Party served with the subpoena

   or court order shall not produce any information designated in this action as “CONFIDENTIAL”

   before a determination by the court from which the subpoena or order issued, unless the Party has

   obtained the Designating Party’s permission. The Designating Party shall bear the burden and

   expense of seeking protection in that court of its confidential material – and nothing in these

   provisions should be construed as authorizing or encouraging a Receiving Party in this action to

   disobey a lawful directive from another court.

   9.     A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED IN THIS
          LITIGATION

              (a) The terms of this Order are applicable to information produced by a Non-Party in this

   action and designated as “CONFIDENTIAL.” Such information produced by Non-Parties in

   connection with this litigation is protected by the remedies and relief provided by this Order. Nothing

   in these provisions should be construed as prohibiting a Non-Party from seeking additional

   protections.

              (b) In the event that a Party is required, by a valid discovery request, to produce a Non-

   Party’s confidential information in its possession, and the Party is subject to an agreement with the

   Non-Party not to produce the Non-Party’s confidential information, then the Party shall:

                  (1) promptly notify in writing the Requesting Party and the Non-Party that some or

   all of the information requested is subject to a confidentiality agreement with a Non-Party;



                                                    9
Case 1:24-cv-24066-CMA Document 24-1 Entered on FLSD Docket 02/10/2025 Page 10 of 13




                   (2) promptly provide the Non-Party with a copy of the Stipulated Protective Order in

    this litigation, the relevant discovery request(s), and a reasonably specific description of the

    information requested; and

                   (3) make the information requested available for inspection by the Non-Party.

               (c) If the Non-Party fails to object or seek a protective order from this court within 14

    days of receiving the notice and accompanying information, the Receiving Party may produce the

    Non-Party’s confidential information responsive to the discovery request. If the Non-Party timely

    seeks a protective order, the Receiving Party shall not produce any information in its possession or

    control that is subject to the confidentiality agreement with the Non-Party before a determination by

    the court. Absent a court order to the contrary, the Non-Party shall bear the burden and expense of

    seeking protection in this court of its Protected Material.

    10.    UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

           If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed Protected

    Material to any person or in any circumstance not authorized under this Stipulated Protective Order,

    the Receiving Party must immediately (a) notify in writing the Designating Party of the unauthorized

    disclosures, (b) use its best efforts to retrieve all unauthorized copies of the Protected Material, (c)

    inform the person or persons to whom unauthorized disclosures were made of all the terms of this

    Order, and (d) request such person or persons to execute the “Acknowledgment and Agreement to

    Be Bound” that is attached hereto as Exhibit A.

    11.    INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE PROTECTED
           MATERIAL

           When a Producing Party gives notice to Receiving Parties that certain inadvertently produced

    material is subject to a claim of privilege or other protection, the obligations of the Receiving Parties

    are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B). This provision is not intended to



                                                      10
Case 1:24-cv-24066-CMA Document 24-1 Entered on FLSD Docket 02/10/2025 Page 11 of 13




    modify whatever procedure may be established in an e-discovery order that provides for production

    without prior privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the

    parties reach an agreement on the effect of disclosure of a communication or information covered by

    the attorney-client privilege or work product protection, the parties may incorporate their agreement

    in the stipulated protective order submitted to the court.

    12.    MISCELLANEOUS

           12.1    Right to Further Relief. Nothing in this Order abridges the right of any person to seek

    its modification by the court in the future.

           12.2    Right to Assert Other Objections. By stipulating to the entry of this Protective Order

    no Party waives any right it otherwise would have to object to disclosing or producing any

    information or item on any ground not addressed in this Stipulated Protective Order. Similarly, no

    Party waives any right to object on any ground to use in evidence of any of the material covered by

    this Protective Order.

           12.3    Filing Protected Material. Without written permission from the Designating Party or

    a court order secured after appropriate notice to all interested persons, a Party may not file in the

    public record in this action any Protected Material. A Party that seeks to file under seal any Protected

    Material must comply with the relevant jurisdiction’s local rules or the individual practices of the

    assigned judge or magistrate for filing under seal.

    13.    FINAL DISPOSITION

           Within 60 days after the final disposition of this action, as defined in paragraph 4, each

    Receiving Party must return all Protected Material to the Producing Party or destroy such material.

    As used in this subdivision, “all Protected Material” includes all copies, abstracts, compilations,

    summaries, and any other format reproducing or capturing any of the Protected Material. Whether




                                                     11
Case 1:24-cv-24066-CMA Document 24-1 Entered on FLSD Docket 02/10/2025 Page 12 of 13




    the Protected Material is returned or destroyed, the Receiving Party must submit a written

    certification to the Producing Party (and, if not the same person or entity, to the Designating Party)

    by the 60 day deadline that (1) identifies (by category, where appropriate) all the Protected Material

    that was returned or destroyed and (2) affirms that the Receiving Party has not retained any copies,

    abstracts, compilations, summaries or any other format reproducing or capturing any of the Protected

    Material. Notwithstanding this provision, Counsel are entitled to retain an archival copy of all

    pleadings, motion papers, trial, deposition, and hearing transcripts, legal memoranda,

    correspondence, deposition and trial exhibits, expert reports, attorney work product, and consultant

    and expert work product, even if such materials contain Protected Material. Any such archival copies

    that contain or constitute Protected Material remain subject to this Protective Order as set forth in

    Section 4 (DURATION).

    IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

    /s/ Julie Holt                                       s/ Kyle W. Woodford
    Julie E. Holt (FBN: 95997)                           Kyle W. Woodford (FBN:1033490)
    1395 Brickell Avenue, Suite 610                      Ryan D. Schoeb (FBN:109257)
    Miami, FL 33131                                      Wood, Smith, Henning & Berman LLP
    305-357-2107                                         1501 South Church Avenue,
    Email: jholt@hedinllp.com                            Suite 200
                                                         Tampa, Florida 33629
    Attorney for Plaintiff                               Telephone: 813-422-6910
                                                         Fax: 813-425-6983
                                                         kwoodford@wshblaw.com
                                                         rschoeb@wshblaw.com

                                                         Attorneys for Defendants



    PURSUANT TO STIPULATION, IT IS SO ORDERED.

    DATED: ________________________                  _____________________________________


                                                     United States District/Magistrate Judge



                                                    12
Case 1:24-cv-24066-CMA Document 24-1 Entered on FLSD Docket 02/10/2025 Page 13 of 13




                                                 EXHIBIT A

                      ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

    I, _____________________________ [print or type full name], of _________________ [print or

    type full address], agree to comply with and to be bound by all the terms of this Stipulated Protective

    Order.

    Date: ______________________________________

    City and State where sworn and signed: _________________________________

    Printed name: _______________________________

    Signature: __________________________________




                                                     13
